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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

REHABCARE GROUP EAST, INC                           )
                                                    )   Case No. 10 cv 02350
                               Plaintiff            )
               vs.                                  )
                                                    )
CAMELOT TERRACE, INC. et. al.                       )
                                                    )
                               Defendants.          )

            DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS

       NOW COMES the Defendants CAMELOT TERRACE, INC. (“Camelot”) REGAL

HEALTH AND REHAB CENTER, INC (“Regal”) FOREST HILL HEALTH & REHAB

CENTER, INC. (“Forest Hill”) GALESBURG TERRACE, INC. (Galesburg Terrace”) GEM

HEALTHCARE MANAGEMENT, INC. (“Gem”) and MICHAEL LERNER (“Lerner”) by and

through their attorney Jeffrey K. Gutman of Gutman and Associates LLC and submits the

following reply in support of its motion to dismiss the plaintiff’s amended complaint as follows:

       1.      The plaintiff in its reply admits that it does not have the required certificate of

               authority to do business in the State of Illinois.

       2.      The Plaintiff’s affidavit attempts to explain why its authority was revoked by the

               State. However, the reasons are all irrelevant to the admission that the plaintiff did

               not have the required certificate of authority at the time that it filed this lawsuit and

               does not have the certificate now.

       4       The Plaintiff correctly states that a certificate is not required to defend an action. See

               805 ILCS 5/16.70(b).
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      5.    However the language is clear in § 805 ILCS 5/13.70(a)
                 No foreign corporation transacting business in this State without authority
                 to do so is permitted to maintain a civil action in any court of this State,
                 until the corporation obtains that authority.

      6.    The legislature permitted defense of a case but corporations can not the file a

            lawsuit without the certificate of authority.

      7.    The Plaintiff suggests that the Court stay proceedings until it obtains the

            certificate of authority. This does not resolve the problem because the Plaintiff

            had no right to file the case and this The Court had no jurisdiction at the time the

            case was filed.

      8.    An out-of-state corporation with an Illinois based cause of action cannot sue until it

            has a certificate of authority. Kansas Quality Constr., Inc. v. Chiasson, 112 Ill. App. 2d

            277 (4th Dist. 1969).

      7     In our case, it is undisputed from the Plaintiff’s complaint that this Plaintiff does

            business in Illinois. It is also undisputed from the allegations of the complaint the

            plaintiff did business in Illinois by providing therapy services at least (4) different

            nursing facilities under (4) independent contracts. See complaint paragraphs 12, and

            13.

      9     That Plaintiff, an out-of-state corporation without a certificate of authority had no

            authority to bring suit in this case and the plaintiff lacked standing to file this suit

            WHEREFORE the Defendants pray this cause of action be dismissed.


                                                      Respectfully submitted:



                                                      _s/Jeffrey K. Gutman____
                                                      Attorney for Defendants

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